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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN OHIO DISTRICT
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,

       v.                                             Case No. CR-2-04-160

DAYREL BILLINGSLEY

       Defendant.

                                              ORDER

            This matter came on for a oral hearing on this 27th day of April, 2007 on the

Government’s Request for a Reduction in Sentence Pursuant to Rule 35 of the Federal Rules of

Criminal Procedure (Doc. # 72) filed on April 16, 2007. The Court finds that the Motion is well

taken and GRANTS the same. The Court hereby reduces the September 28, 2005 sentence of

300 months incarceration to 216 months incarceration. This Court recommends to the Bureau of

Prisons to designate the Defendant to the nearest federal facility in the Columbus, Ohio area that

offers a residential drug treatment program. The other terms and conditions set for in the

September 28, 2005 sentencing remain unchanged. The Clerk of Court is hereby DIRECTED to

send certified copies of this Order to the United States Marshal’s Service.



       IT IS SO ORDERED.



                                               s/ Gregory L. Frost
                                              GREGORY L. FROST, JUDGE
                                              UNITED STATES DISTRICT COURT
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